




Dismissed and Memorandum Opinion filed December 21, 2006








Dismissed
and Memorandum Opinion filed December 21, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00910-CR

____________

&nbsp;

EVELYN FAJARDO HART, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
209th District Court

Harris County, Texas

Trial Court Cause No. 1067121

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to endangering a child.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, the trial court sentenced appellant on
July 28, 2006, to confinement for two years in the State Jail Division of the
Texas Department of Criminal Justice, probated for two years, and assessed a
fine of $1,000.&nbsp; Appellant filed a timely, written notice of appeal.&nbsp; We
dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 21, 2006.

Panel consists of Chief Justice Hedges and Justices
Fowler and Edelman.

Do Not Publish C Tex. R. App. P.
47.2(b).





